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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re,
BENJAMIN KLEIN,
PO Box 747

Monsey, NY 10952
S SN xxx-xx- 7215
---------------------------------------------------------------------X

Benjamin Klein,                                                          Case No. 18-23417 RDD

                                                                         Chapter 13
                                            Plaintiff(s),
                                   VS.                                   Adversary No. 19-08200 RDD

Moshe Leib (Moses) Witrol, Yitzchok Dov (Isaac, George)
Fisch, Rabbi Gabriel Stern, Zalman Dov Klein, Malky Fisch,
Dina Klein, Aryeh Gutman, Schlomo Gutman, Aron Eagle,
Jacob (Yossi) Eagle, Esther Klein, Avraham Lehrer, (& upon
Leave granted) Joseph Maria, and Does l-100,

                                             Defendant(s).
--------------------------------------------------------------------X


                                           NOTICE OF MOTION




         NOTICE IS HEREBY GIVEN that upon the accompanying Memorandum of Law dated

Febmary 26, 2019, the Declaration of Joseph Churgin, Esq., dated February 26, 2019, and all

exhibits attached thereto, Defendants Zalman Dov Klein and Dina Klein, by and through their

attorneys, SAVAD CHURGIN, move this Court, before Hon. Robert D. Drain, USDJ, at the

United States Courthouse, located at 300 Quarropas Street, White Plains, New York 10601, on

March 13, 2019 at 10:00 a.m. for an Order denying Plaintiff's request for a Certificate of Default

and/or granting Responding Defendants an extension of time to answer the Complaint.
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       PLEASE TAKE FURTHER NOTICE that responsive briefs and papers will be served

pursuant to the Federal Rules of Civil Procedure and the Local Rules of this Court.


Dated: Nanuet, New York
       February 26, 2019
                                                VAD CHURGIN LLP



                                             lseph A. Churgin (JC 6854)
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To the following parties:


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                                                       (Defendan0
                                                       Yitzchok Dov (Isaac, George) Fisch
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                                                       (Defendant)
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